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 8                            UNITED STATES DISTRICT COURT
 9                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
10     UNITED STATES OF AMERICA,             CR No. 2:25-CR-00333-AB
11                Plaintiff,                 I N F O R M A T I O N
12                v.                         [18 U.S.C. § 1030(a)(2)(C),
                                             (c)(2)(B)(iii): Accessing a Computer
13    RYAN MITCHELL KRAMER,                  and Obtaining Information; 18 U.S.C.
        aka “NullBulge,”                     § 1030(a)(7), (c)(3)(A): Threatening
14                                           to Damage a Protected Computer; 18
                  Defendant.                 U.S.C. §§ 982 and 1030(i): Criminal
15                                           Forfeiture]

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18        The United States Attorney charges:
19                                         COUNT ONE
20                  [18 U.S.C. § 1030(a)(2)(C), (c)(2)(B)(iii)]
21        On or about May 14, 2024, in Los Angeles County, within the
22   Central District of California, and elsewhere, defendant RYAN
23   MITCHELL KRAMER, also known as (“aka”) “NullBulge,” intentionally
24   accessed a computer without authorization, and thereby obtained
25   information the value of which exceeded $5,000, namely, non-public
26   information, records, and communications belonging to the Walt Disney
27   Company.
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 1                                         COUNT TWO

 2                       [18 U.S.C. § 1030(a)(7), (c)(3)(A)]
 3        On or about July 8, 2024, in Los Angeles County, within the

 4   Central District of California, and elsewhere, defendant RYAN
 5   MITCHELL KRAMER, also known as (“aka”) “NullBulge,” with intent to
 6   extort from a person, namely victim M.V., money and other things of
 7   value, transmitted in interstate and foreign commerce a communication
 8   containing a threat to impair the confidentiality of information
 9   obtained from a protected computer without authorization.
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 1                             FORFEITURE ALLEGATION ONE

 2                            [18 U.S.C. §§ 982 and 1030]
 3        1.     Pursuant to Rule 32.2(a) of the Federal Rules of Criminal

 4   Procedure, notice is hereby given that the United States will seek
 5   forfeiture as part of any sentence, pursuant to Title 18, United
 6   States Code, Sections 982(a)(2) and 1030, in the event of the
 7   defendant’s conviction of the offenses set forth in Counts One and
 8   Two of this Information.
 9        2.     If so convicted defendant shall forfeit to the United
10   States of America the following:
11               (a)   All right, title, and interest in any and all
12   property, real or personal, constituting, or derived from, any
13   proceeds obtained, directly or indirectly, as a result of the
14   offenses;
15               (b)   Any personal property used or intended to be used to

16   commit the offenses; and
17               (c)   To the extent such property is not available for
18   forfeiture, a sum of money equal to the total value of the property
19   described in subparagraphs (a) and (b).
20        3.     Pursuant to Title 21, United States Code, Section 853(p),
21   as incorporated by Title 18, United States Code, Sections 982(b)(1)
22   and 1030(i), if so convicted defendant shall forfeit substitute
23   property, up to the total value of the property described in the
24   preceding paragraph if, as the result of any act or omission of
25   defendant, the property described in the preceding paragraph, or any
26   portion thereof: (a) cannot be located upon the exercise of due

27   diligence; (b) has been transferred, sold to or deposited with a
28   third party; (c) has been placed beyond the jurisdiction of the
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 1   court; (d) has been substantially diminished in value; or (e) has

 2   been commingled with other property that cannot be divided without

 3   difficulty.

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 5                                               BILAL A. ESSAYLI
                                                 United States Attorney
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 8                                               DAVID T. RYAN
                                                 Assistant United States Attorney
 9                                               Chief, National Security Division
10                                               KHALDOUN SHOBAKI
                                                 Assistant United States Attorney
11                                               Chief, Cyber and Intellectual
                                                   Property Crimes Section
12
                                                 LAUREN RESTREPO
13                                               Assistant United States Attorney
                                                 Assistant United States Attorney
14                                               Deputy Chief, Cyber and
                                                   Intellectual Property Crimes
15                                                 Section
16                                               MAXWELL COLL
                                                 Assistant United States Attorney
17                                               Cyber and Intellectual Property
                                                   Crimes Section
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